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          EXHIBIT "A"
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                        PROMISSORY_NOTE AND:SECURITY AGREEMENT
 .$4,009;00.0.00                                                      Funding Date:. February 13,.2024
 For value received;. Golden Gate Investment Company,             .a Pennsylvania limited liability company
 ("Maker"), and Paramount Management Group, Lt,C,, a Pennsylvania limited liability company
 ("Guarantor.") hereby promise to pay to the order of Steward Capital Holdings, LP, a. Delaware limited
 liability: company ("Holder"), in laWful currency of the United States,. the initial principal sum of Four
 Million Dollars ($4,000,000..00). (the "Principal Amount"), together with interest son the unpaid Principal
 Amount under this. Promissory Note and SecurityAgreement (this "Note");. accruing interest. at a simple
 rate (computed on the basis. of a year of 365 days and actual number of days elapsed) of eighteen percent
 (18%), per annum (,. The unpaid balances-of the Principal An-tont...outstanding from time to time referred to
 herein .as the "Outstanding Principal Balance"). As, a condition to the closing of the funding evidenced by
 thisNote, Maker has paid Holder an origination fee 'of 1% bithe PrinCipal Amount oil or before the Funding.
 Date.

1. Payments. Interest payments shall be paid to Holder on the 151 day of each month beginning April
   2024, until such time the entire Outstanding Principal Balance is paid in full. At any time on or after
   February 13, 2025, the Outstanding Principal Balance, together with any and all accrued and unpaid
   interest thereon and such other amounts, if:any, as shall be due and owing from Maker to Holder under
   this Note (.the "Balloon Payment"), shall be: paid in full upon Sixty (60) calendar days after written
   demand is made by. Holder to Maker (the ".Demand PayMent Date"). In the absence of any demand, the
   Balloon Payment is due two (2) year's from the Funding Date (the "Maturity Date"). Maker shall make
   all payments herennder. to Holder in lawful money of the United States and in immediately available
   funds. Maker shall make payments at Steward Capital Holdings, LP, Attn: DOnald P. Johns, 3900 S.
   Overland Avenue; Springfield, MisSouri 65809or such other place as_.Holder may, from time to time,
   direct by written notice to Maker. Holder shall give written notice to Maker of such different address
   pursuant to Section'10 of this Note.

2. :Security Interest. As security forthe prompt and full satisfaction of the. Outstanding Principal Balance
    of this .Note, and'alikother sums due under this Note, Maker agrees that }Wider shall have,:and Maker
    hereby 'grantS to and creates in favor of Hplder, a firSt priority lien and security interest ihthe digital
    currency kiosk. machines expressly identified on Exhibit A attached hereto and made apart hefeof (each
    a "DCM" and colleetively,:the "DCMS.").and the cash In each DCM at any tirrie diiring the Term of this
   Note (the "DCM Cash") (the DCMs and DCMCaSh, together with all accessiPtis.and additions thereto;
   •.and substitutions therefor .and. all. proceeds of their sale or disposition, collectively, the "Collateral").
    Maker agrees that it shall not; without the prior written consent of Helder; grant of create or permit tp
    attach or exist any mortgage, security interest, lien, judgmept, or other encumbrance of or in .the
    Collateral or any portion thereot.other than the security interest provided for in this Note.. Maker agrees:
   that it shall preserve and protect Holder's security interest in the Collateral. In. addition to all:rights.and
   remedies given to: Holder by tbis Note, Holder shall have all the rights and remedies.of asecured party.
   under the Pennsylvania Uniform Commercial Code as in.effeet from time to. time (the "UCC"). Maker
   and Bolderagree that this. Note constitutes .a security agreement. under the Ut,C. Maker agrees '10
   provide Prom time; to.time at the request of Holder Such additional documents or inStrtiments for 'Holder
   to..perfeet and Maintain its security interest iii the Collateral, Helder may,, in.its discretion, file one or
   more financing statements ,under the .1.1t.c, naming Maker and Flolder.aS seemed party and indicating
   the Collatepal specified in thisNote.

3. Eiit Fee. An exit fee equal to 0.5% of the Principal. Amount, payableto.Maker upon. the earlier of (i).
   the Demand Payment Date, (ii) the Maturity Date; or (iii) iii the event of Prepayment, when. the.
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    Outstanding .Principal Balance togethervith any and all accrued .and unpaid interest thereon has been
    paid in full.

4. Maker's.- Representations and Warranties. To induce Holder to enter into this Note and to extend
   the loan evidenced hereby, Maker makes the following representations and warranties, all. of which are
   deemedanadeas of the Panding.Date:
    (a)     Existence;. Authority. The exact legal name of Maker is as set forth on the signature page to
            this Note. Maker is duly organized, validly existing and in good standing under the laws of the
            jurisdiction of its organization and is duly qualified or licensed to transact business     places
            where the failure to be so qualified could reasonably be expetted to haVe a material adverse
            effect on the business of Maker. Maker has the right and power to enter into and discharge all
            of its obligations under this Note. The Note..constitutes a legal, valid and binding obligation of
            the Maker, enforceable against it in- accordance. With its terms, subject only to bankruptcy and
            similar laws affecting creditors' rights generally. The execution, delivery and performance of
            the Note has been.duly authorized by all necessary actions of Maker.
   (b)     Title. The DCMs are owned by Malcer and are not subject to any security interest except as
           created by this Note, or to any hens, or encumbrances, and. Maker will defend the DCMs against
           the claims and demands of any third party,

5. Certain Covenants.
   (a)     Financial Covenant: From the Funding Date until the payment in: ull of the Outstanding
           Principal Balance together with any and all accrued and napaid interest thereon, Maker shall at
           all times maintain an aggregate cash balance equal the Outstanding Principal Balance in a
           combination of (i) cash in DCMs, and (ii) Cash iii transit from :Such DCMs.
   (b)     Maintenance; Taxes. Maker will maintain the DCMs in good eOndition and repair,
           reasonable wear and tear excepted, and will pay and discharge all taxes, leVies; and other
           impositions levied on the:goods as well as the cost of repairs to or maintenance..of the same.
   (c)     CaSh Balance Replotting, Upon written request of the Holder, Maker shall provide a report of
           the monthly cash level in the DCMs.
   (d)     Financial Reporting. Maker shall provide its quarterly financial statements within thirty (30)
           days of the end of each quarter, and its annual tax returns to Holder.

6. Default.
   (a)     Default Interest Rate. Following and, daring the continuate of an. Event of Default, interest. on
           the unpaid principal balance of the Note. shall accrue at a simplerate: (computed on the basis:of
           a year of 365 days and actual number:of days elapsed) of twenty. pereent'p0G/O perannum or the:
           maximum pennisSible by .applicable law, whiehever is less (the "Default Interest Rate").
   (b)     Events of Default. The 'occurrence of .any of the following events will be deemed to be an
           "EVent of Default" under this Note;
           (i)    A default in the payment when :due efall or any. art of any obligations payable by..Maker
                  hereunder (whether on the Demand Payment Date, Maturity Dateiorat any other 'time
                  provided for in this Note) if not cured within fifteen (15) calendar days after the Maker's
                  receipt' of written notice froin Holder;
           (ii)   The filing of    petition or the commencement of any ease orproceediag by or against
                  the.Maker  under any.  rovision or chapter of the. United States Bankruptcy Code, as

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                 amended,. relating to insolVency, bankruptcy, or the reorganization.(and, in the case of
                 any such proceeding instituted against the Maker; such proceeding is-not disMissedsor
                 stayed:within:sikty (60) days of the coin Men can ent theredf);
            (iii) The appointment of or the.taking possession by;a custodian, trustee, or receiver of all or
                  any of the assets of the Maker; or
            (iv) The failure of Maker to perform or observe any ofMaker's covenants under this Note;
                 which.c0ntinues for fifteen (15) days. after Maker knows ofsuCh
     (c)    Remedies, Upon the oecurrence'd an Event of Default, at liblder's option and upon written .
            notice. to the. Maker! .(i) the then Outstanding Principal Balance-and any and all accrued and
            unpaid interest thereon shall be accelerated and become immediately due and payable; and kii)
            this. Note will bear. interest at the:Default. Interest Rate frOrn • the.date:o f such. written Notice
           .from. Holder to Maker.

 7. Prepayment. Maker has the right to make payment of the unpaid Outstanding Principal_ Balance in
    whole or in part.at any time hefore the Maturity 'ate ("Prepayment") without any premium, penalty,
    or additional.interest. If Maker intends to make a Prepayment, Makershallnotify Holder in writing in
    advance of such Prepayment.

8. Waivers. Maker hereby waives preseininent, demand, notice, protest and all other notices in connection
   with the delivery; acceptance, performance and enforcement of this Agreement. Any failure or delay
   by Haider.to exercise any right hereunder shall not be construed as a waiver of the right to exercise the
   Same Or any other right at any other time. The waiver by. Holder of a breach or default of any provision
                is Agreement shall not be construed as a waiver of any subsequent breach thereof A waiver
   or term of this
   on any one occasion shall, not be construed as a bar to or waiver of any right and/or remedy on any
   future occasion.

9. NollTsury.. Maker and Holder intendto:comply at all tithes with. applicable. Usury laws. If, .at any tithe,
   such laws would tender usurious any amounts called. for under this:Note, it is Maker's and H0lder's
   express intention that Maker shall. never be required to pay interest on this Note at.a rate in excess of
   the plrochpum. lawful.- rate then allowed. The proVisiOns of: hiS Section 9 shall control over all other
   proviskins of this Note.; whiCh -maybe inapparent. conflict hereunder. Any excess amount shall be
    immediately .refurided by Holder to Maker, and the previsions hereof shall he..immodiately.refonned,,
   and the: amounts. thereafter .collectibie under this Note shall be reduced, without the necessity of the
   execution of any further documents, so as,to,comply with the then applicable law, but so as to permit
   tile recovery-Of the- fullest .amount.ritherwise called' or under this Note. Any such refund shall riot cure
   or, waive any default by Maker under this Note. The term "applicable law" •a8 • usedin this Note.shall
   mean, the laws of the. Commonwealth' f PennsylVania or the laws of-the United States,. whichever laws.
   allow the greater rate 'of interest, as such laWs now exist or 'may be `changed or amended or come into.
   effect in the future.

10. Notice. Any notice that must be given to Maker under this Note shall be given by hand delivery or' by
    certified mail addressed to Maker at 415 N. Prince Street, Suite 200, Lancaster, Pennsylvania 17603.
    Noticeshall be, delivered or mailed to Maker at a different address Oil lY after Maker gives:Holder written
    notice of the different.addreas,. Any notice that must be giyen to Holder under this Note Shall be given
    by hand delivery or by certified mail addressed to Holder at.Steward Capital Holdings; LP., Attn:
    Donald P. Johns, 3900.S.. Overland Aventie, Springfield, Missouri 65807, Notice shall be delivered or
    Mailed to Holder: at: a different addreSs only after Holder gives Maker written notice of the different
    address..

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 11. Extensions/Renewals. Holder may .in. its .sole arid. abseil* discretion,. without notice and without
     releasing the liability of Maker; grant extensions and/pr renewals.. hereof from 'time to time or for any
     term or terms. Holder shall not be liable for or prejudiced by failure to collector lack of diligence' in
     bringing'suit on this Note orany renewal or extension hereof, and the' acceptance at any time by..Holder
    of any past-due amount shall not be' eemed to be a. waiver of the right to require. prompt payment when
     due of any other. am ounts..then or thereafter due and payable.

 12. Assignment This Note shall ba'.binding upon and inure to. the 'benefit of Maker, Holder and thPir
     -respective successors, permitted assignS, and legal representatives, Neithet. Maker nor Holder -may
     assign, transfer or sell this Note toany party without the written consent of the other party, such consent
     shall not be Unreasenably. Withheld, conditioned or delayed. Any party who takesihis Note by permitted
     assignment or fransfer.and who is entitled to receive payments under this Note .shall be censiderod to
     hp.the Holder.

13. Entire Agreement; Amendments. This Note 'contains' the 'entire undeestanding. of the. parties with,
    reaped to     subject mattethereof and ifieltides all cif the anal. and written agreements, representations,
    and arrangements between the parties with respectto the obligations to be incurred by Maker herein,
    and no other representationS.orwarranties .are made ot-implied except as Pxpressly. set forth in this
    Note: This Note may not be changed or amended orally., but only by an agreement in writing,.signed
    by-the party against. Whom enforcement is sought.

14. 'Captions. All. paragraph .and. nbparagraph .capfions.are forcony enienc e-of reference only and..sha 11 not
     affect the. construction of any proviSion herein:

15. Governing Law and Venue. Except:as `specifically provided in Section 9, this Nate shall be construed
    in accordance with and governed by the laws of the Commonwealth of.Pennsylvania without regard to
    any conflict of law principles. The federal and state courts of the Commonwealth of Pennsylvania shall
    have sole and exclusive jurisdiction over any dispute arising from this Note.

16. Severability. If any proviSion of this Note shall for any reason be held invalid or unenforceable,:.such.
    invalidity or unenforceability shall. not affect any other provision of this Note, but this Note shall be
    construed as:if this Note had never contained the invalid or unenforceable provision.

17. Counterparts: This Note may be executed in counterparts, each of which shall be.deemeciany original,
    but all of which ..taken together shall constitute. one and the same. agreement: Counterparts .of 'the
    'Signature. pages to:this Note may bedeliVered electronically.and shall be deemed to have the same, legal
    effect. as deliVery of an original signed Npte.

                                      ISigniaturi410116w .on.nextpagei




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                IN WITNESS WHEREOF, and intending to be legally bound hereby, Maker and Holder have
            executed this Promissory Note and Security Agreement on the Funding Date.


            Maker:
            GOLDEN GATE INVESTMENT COMPANY, LLC
            By its Sole Member, Paramount Management Group, LLC,
            By its Member, Heller Capital Group, LLC
                           DocuSired by:



            By:
            Name:        Daryl F. Heller
            Title:       CEO


            Guarantor:
            PARAMOUNT MANAGEMENT GROUP, LLC
            By its Member, Heller Capital Group, LLC
                            DocuS gned by:



            By:             LA
            Name:      Daryl F. Heller
            Title:     CEO




            Agreed and Accepted:


            Holder:
            STEWARD CAPITAL HOLDINGS, LP


            By:
            Name:      Donald P. Johns
            Title:     Vice President




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    IN WITNESS WHEREOF, and intending to be legally bound hereby, Maker and Holder have
executed this Promissory Note and Security Agreement on the Funding Date.


Maker:
GOLDEN GATE INVESTMENT COMPANY, LLC
By its Sole Member, Paramount Management Group, LLC,
By its Member, Heller Capital Group, LLC


By:
Name:        Daryl F. Heller
Title:       CEO


Guarantor:
PARAMOUNT MANAGEMENT GROUP, LLC
By its Member, Heller Capital Group, I ,LC


By:
Name:      Daryl F. Heller
Title:     CEO




Agreed and Accepted:


Holder:
STEWARD CAPITAL HOLDINGS, LP


By:
Name:       onald P. Johns
Title:     Vice President




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                             Exhibit A
                              DCMs


                           [See attached]




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                                   Exhibit A - DCMs


Mfg/Model       Serial Number   Mfg/Model         Serial Number
ColeKepro 5.0   150677          ColeKepro 5.0     150799
ColeKepro 5.0   150858          ColeKepro 5.0     150742
ColeKepro 5.0   150969          ColeKepro 5.0     151076
ColeKepro 5.0   151175          ColeKepro 5.0     151014
ColeKepro 5.0   151128          ColeKepro 5.0     151330
ColeKepro 5.0   151073          ColeKepro 5.0     149828
ColeKepro 5.0   150974          ColeKepro 5.0     151056
ColeKepro 5.0   151012          ColeKepro 5.0     151096
ColeKepro 5.0   151328          ColeKepro 5.0     150903
ColeKepro 5.0   150931          ColeKepro 5.0     150986
ColeKepro 5.0   151370          ColeKepro 5.0     150766
ColeKepro 5.0   151336          ColeKepro 5.0     150786
ColeKepro 5.0   151168          ColeKepro 5.0     150836
ColeKepro 5.0   151147          ColeKepro 5.0     151366
ColeKepro 5.0   151131          ColeKepro 5.0     151004
ColeKepro 5.0   151085          ColeKepro 5.0     151403
ColeKepro 5.0   150988          ColeKepro 5.0     151393
ColeKepro 5.0   151135          ColeKepro 5.0     152237
ColeKepro 5.0   150972          ColeKepro 5.0    152238
ColeKepro 5.0   150917          ColeKepro 5.0    150780
ColeKepro 5.0   150921          ColeKepro 5.0     151155
ColeKepro 5.0   150733          ColeKepro 5.0    151078
ColeKepro 5.0   150756          ColeKepro 5.0    151081
ColeKepro 5.0   151021          ColeKepro 5.0    150893
ColeKepro 5.0   151344          ColeKepro 5.0    151351
ColeKepro 5.0   151369          ColeKepro 5.0    151294
ColeKepro 5.0   151282          ColeKepro 5.0    151060
ColeKepro 5.0   151070          ColeKepro 5.0    150938
ColeKepro 5.0   151338          ColeKepro 5.0    150946
ColeKepro 5.0   150932          ColeKepro 5.0    151309
ColeKepro 5.0   151293          ColeKepro 5.0    150975
ColeKepro 5.0   151158          ColeKepro 5.0    147967
ColeKepro 5.0   151068          ColeKepro 5.0    151185
ColeKepro 5.0   150970          ColeKepro 5.0    149829
ColeKepro 5.0   151407          ColeKepro 5.0    151379
ColeKepro 5.0   151208          ColeKepro 5.0    151151
ColeKepro 5.0   151400          ColeKepro 5.0    151346
ColeKepro 5.0   150883          ColeKepro 5.0    150951
ColeKepro 5.0   150933          ColeKepro 5.0    151286
ColeKepro 5.0   151032          ColeKepro 5.0    151144
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                                     Exhibit A - DCMs


Mfg/Model        Serial Number    Mfg/Model         Serial Number

ColeKepro 5.0   150881           ColeKepro 5.0     151074
ColeKepro 5.0   150890           ColeKepro 5.0     150939
ColeKepro 5.0   151373           ColeKepro 5.0     151069
ColeKepro 5.0   151027           ColeKepro 5.0     150980
ColeKepro 5.0   151331           ColeKepro 5.0     151125
ColeKepro 5.0   151266           ColeKepro 5.0     150956
ColeKepro 5.0   150935           ColeKepro 5.0     151179
ColeKepro 5.0   149826           ColeKepro 5.0     150889
ColeKepro 5.0   147960           ColeKepro 5.0     151276
ColeKepro 5.0   151107           ColeKepro 5.0     150795
ColeKepro 5.0   148083           ColeKepro 5.0     150943
ColeKepro 5.0   151149           ColeKepro 5.0     149066
ColeKepro 5.0   151194           ColeKepro 5.0     149520
ColeKepro 5.0   150905           ColeKepro 5.0     149288
ColeKepro 5.0   151152           ColeKepro 5.0     148330
ColeKepro 5.0   150734           ColeKepro 5.0     148384
ColeKepro 5.0   150925           ColeKepro 5.0    148134
ColeKepro 5.0   150730           ColeKepro 5.0    148037
ColeKepro 5.0   151201           ColeKepro 5.0    148840
ColeKepro 5.0   150781           ColeKepro 5.0    149012
ColeKepro 5.0   151289           ColeKepro 5.0    148881
ColeKepro 5.0   151339           ColeKepro 5.0    149462
ColeKepro 5.0   150967           ColeKepro 5.0    149079
ColeKepro 5.0   151091           ColeKepro 5.0    150009
ColeKepro 5.0   151145           ColeKepro 5.0    150148
ColeKepro 5.0   151040           ColeKepro 5.0    149318
ColeKepro 5.0   150738           ColeKepro 5.0    148699
ColeKepro 5.0   150821           ColeKepro 5.0    148843
ColeKepro 5.0   151335           ColeKepro 5.0    150042
ColeKepro 5.0   151178           ColeKepro 5.0    148329
ColeKepro 5.0   150743           ColeKepro 5.0    149702
ColeKepro 5.0   151015           ColeKepro 5.0    149433
ColeKepro 5.0   151126           ColeKepro 5.0    149523
ColeKepro 5.0   150863           ColeKepro 5.0    150176
ColeKepro 5.0   151278           ColeKepro 5.0    148013
ColeKepro 5.0   150993           ColeKepro 5.0    148846
ColeKepro 5.0   151296           ColeKepro 5.0    148328
ColeKepro 5.0   151192           ColeKepro 5.0    149422
ColeKepro 5.0   151139           ColeKepro 5.0    148860
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                                    Exhibit A - DCMs


Mfg/Model         Serial Number Mfg/Model       Serial Number
ColeKepro 5.0   148398       ColeKepro 5.0 150787
ColeKepro 5.0   148081      ColeKepro 5.0      150744
ColeKepro 5.0   149633      ColeKepro 5.0      150923
ColeKepro 5.0   150162      ColeKepro 5.0      150963
ColeKepro 5.0   149017      ColeKepro 5.0      150792
ColeKepro 5.0   148868      ColeKepro 5.0      151041
ColeKepro 5.0   149946      ColeKepro 5.0      151365
ColeKepro 5.0   151934      ColeKepro 5.0      152897
ColeKepro 5.0   151935      ColeKepro 5.0      152898
ColeKepro 5.0   151936      ColeKepro 5.0     152899
ColeKepro 5.0   151937      ColeKepro 5.0     152900
ColeKepro 5.0   151938      ColeKepro 5.0     152901
ColeKepro 5.0   151939      ColeKepro 5.0     152902
ColeKepro 5.0   151965      ColeKepro 5.0     152903
ColeKepro 5.0   151966      ColeKepro 5.0     152904
ColeKepro 5.0   151967      ColeKepro 5.0     152905
ColeKepro 5.0   151968      ColeKepro 5.0     152906
ColeKepro 5.0   151969      ColeKepro 5.0     152907
ColeKepro 5.0   151970      ColeKepro 5.0     152908
ColeKepro 5.0   151971      ColeKepro 5.0     148388
ColeKepro 5.0   151972      ColeKepro 5.0     148493
ColeKepro 5.0   151973      ColeKepro 5.0     148374
ColeKepro 5.0   151949      ColeKepro 5.0     149516
ColeKepro 5.0   151950      ColeKepro 5.0     148482
ColeKepro 5.0   151951      ColeKepro 5.0     149711
ColeKepro 5.0   151952      ColeKepro 5.0     148844
ColeKepro 5.0   151953      ColeKepro 5.0     148570
ColeKepro 5.0   151954      ColeKepro 5.0     148385
ColeKepro 5.0   148378      ColeKepro 5.0     148679
ColeKepro 5.0   148038      ColeKepro 5.0     149447
ColeKepro 5.0   148381      ColeKepro 5.0     148379
ColeKepro 5.0   149757      ColeKepro 5.0     149445
ColeKepro 5.0   151229      ColeKepro 5.0     149642
ColeKepro 5.0   151109      ColeKepro 5.0     148239
ColeKepro 5.0   151042      ColeKepro 5.0     149196
ColeKepro 5.0   151288      ColeKepro 5.0     149874
ColeKepro 5.0   150958      ColeKepro 5.0     148390
ColeKepro 5.0   150755      ColeKepro 5.0     148761
ColeKepro 5.0   150896      ColeKepro 5.0     150166
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                                   Exhibit A - DCMs


Mfg/Model         Serial Number Mfg/Model             Serial Number
ColeKepro 5.0   148369         ColeKepro 5.0     151222
ColeKepro 5.0   148370         ColeKepro 5.0     151237
ColeKepro 5.0   152376         ColeKepro 5.0     151238
ColeKepro 5.0   152377         ColeKepro 5.0     151239
ColeKepro 5.0   152378         ColeKepro 5.0     151240
ColeKepro 5.0   152654         ColeKepro 5.0     151241
ColeKepro 5.0   152655         ColeKepro 5.0     151765
ColeKepro 5.0   152656         ColeKepro 5.0     151987
ColeKepro 5.0   152778         ColeKepro 5.0     151909
ColeKepro 5.0   152779         ColeKepro 5.0     151786
ColeKepro 5.0   152780         Kioskcom          K0129984
ColeKepro 5.0   152781         Kioskcom          K0130123
ColeKepro 5.0   152782         Kioskcom          K0130121
ColeKepro 5.0   152783         Kioskcom          K0130322
ColeKepro 5.0   152663         Kioskcom          K0130169
ColeKepro 5.0   152664         Kioskcom          K0130174
ColeKepro 5.0   152665         Kioskcom          K01301749
ColeKepro 5.0   152666         Kioskcom          K0130180
ColeKepro 5.0   152667         Kioskcom          K0130186
ColeKepro 5.0   148371         Kioskcom          K0131387
ColeKepro 5.0   148372         Kioskcom         K0131389
ColeKepro 5.0   148373         Kioskcom         K0131392
ColeKepro 5.0   151940         Kioskcom         K0131388
ColeKepro 5.0   151941         Kioskcom         K0131499
ColeKepro 5.0   151942         Kioskcom         K0131455
ColeKepro 5.0   151943         Kioskcom         K0132333
ColeKepro 5.0   151944         Kioskcom         K0132334
ColeKepro 5.0   151945         Kioskcom         K0132335
ColeKepro 5.0   152657         Kioskcom         K0132331
ColeKepro 5.0   152658         Kioskcom         K0129986
ColeKepro 5.0   152659         Kioskcom         F0111237
ColeKepro 5.0   152660         Kioskcom         K0131454
ColeKepro 5.0   152661         Kioskcom         F0111215
ColeKepro 5.0   152662         Kioskcom         F0111232
ColeKepro 5.0   151231         Kioskcom         K0130010
ColeKepro 5.0   151232         Kioskcom         K0130003
ColeKepro 5.0   151233         Kioskcom         K0130022
ColeKepro 5.0   151234         Kioskcom         K0129988
ColeKepro 5.0   151235
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Mfg/Model       Serial Number     Mfg/Model            Serial Number
Kioskcom      K0130009          Kioskcom          K0132011
Kioskcom      K0130149          Kioskcom          K0132009
Kioskcom      K0130990          Kioskcom          K0131993
Kioskcom      M0133253          Kioskcom          K0131998
Kioskcom      K0130955          Kioskcom          K0132167
Kioskcom      K0130951          Kioskcom          K0132158
Kioskcom      K0130968          Kioskcom          K0132227
Kioskcom      K0131038          Kioskcom          K0130646
Kioskcom      K0131938          Kioskcom          K0132372
Kioskcom      K0131940          Kioskcom          K0132374
Kioskcom      K0132012          Kioskcom          K0132373
Kioskcom      K0130977          Kioskcom          K0132338
Kioskcom      K0125318          Kioskcom          K0132339
Kioskcom      K0129348          Kioskcom          K0132340
Kioskcom      K0130167          Kioskcom          K0132342
Kioskcom      K0130175          Kioskcom          K0132343
Kioskcom      K0131031          Kioskcom          K0132274
Kioskcom      K0131907          Kioskcom          K0132273
Kioskcom      K0131902          Kioskcom          K0132307
Kioskcom      K0131901          Kioskcom          K0132301
Kioskcom      K0131912          Kioskcom          K0132299
Kioskcom      K0131904          Kioskcom          K0132357
Kioskcom      K0131914          Kioskcom         K0132355
Kioskcom     K0131916       Kioskcom             K0132347
Kioskcom     K0131920       Kioskcom             K0132367
Kioskcom     K0131941       Kioskcom             K0132348
Kioskcom     KO131942       Kioskcom             K0132296
Kioskcom     K0131992       Kioskcom             K0132298
Kioskcom     K0131994       Kioskcom             K0132364
Kioskcom     K0132006       Kioskcom             K0132295
Kioskcom     K0131981       Kioskcom             K0132297
Kioskcom     K0131985       Kioskcom             K0132288
Kioskcom     K0131991       Kioskcom             K0132362
Kioskcom     K0131979       Kioskcom             L0132830
Kioskcom     K0132118       Kioskcom             L0132861
Kioskcom     K0132121       Kioskcom             L0132930
Kioskcom     K0132107       Kioskcom             L0132853
Kioskcom     K0131982       Kioskcom             L0132858
Kioskcom     K0131983
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Mfg/Model      Serial Number     Mfg/Model            Serial Number
Kioskcom     L0132857          Kioskcom          K0131945
Kioskcom     L0132863          Kisokcom          K0131924
Kioskcom     L0133849          Kioskcom          K0131934
Kioskcom     L0133633          Kioskcom          K0131958
Kioskcom     L0133629          Kioskcom          K0132166
Kioskcom     L0133739          Kioskcom          K0132193
Kioskcom     L0133676          Kioskcom          K0132219
Kioskcom     L0133753          Kioskcom          K0132180
Kioskcom     L0133733          Kioskcom          K0132263
Kioskcom     M0133079          Kioskcom          K0132280
Kioskcom     M0133175          Kioskcom          K0132287
Kioskcom     M0133177          Kioskcom          K0133338
Kioskcom     M0133355          Kioskcom          K0130978
Kioskcom     M0135043          Kioskcom          K0130999
Kioskcom     M0135057          Kisokcom          K0130997
Kioskcom     M0135042          Kioskcom          K0130002
Kioskcom     M0135041          Kioskcom          K0130983
Kioskcom     M0135058          Kioskcom          K0130995
Kioskcom     M0135056          Kioskcom          K0130993
Kioskcom     M0135046          Kioskcom         K0131015
Kioskcom     M0135044          Kioskcom         K0131011
Kioskcom     M0135040          Kisokcom         K0131004
Kioskcom     M0135047          Kioskcom         K0131012
Kioskcom     K0131961          Kioskcom         K0131014
Kioskcom     K0131963      Kioskcom             K0131013
Kioskcom     K0131966      Kioskcom             K0131006
Kioskcom     K0131962      Kisokcom             K0131005
Kioskcom     K0130976      Kioskcom             K0131019
Kioskcom     K0132171      Kioskcom             K0131018
Kioskcom     K0132175      Kioskcom             K0131008
Kioskcom     K0131995      Kioskcom             K0130991
Kioskcom     K0131986      Kioskcom             K0131017
Kioskcom     L0133815      Kioskcom             K0131009
Kioskcom     L0133816      Kioskcom             KO131935
Kioskcom     L0133769      Kioskcom             K0131933
Kioskcom     K0131001      Kioskcom             K0131932
Kioskcom    K0131003       Kioskcom             K0131900
Kioskcom    K0131016       Kioskcom             K0131915
Kioskcom    K0131908       Kioskcom             K0132124
                           Kioskcom             K0132134
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Mfg/Model      Serial Number     Mfg/Model            Serial Number
Kioskcom     K0132132          Kioskcom          K0132380
Kioskcom     K0132126          Kioskcom          K0132377
Kioskcom     K0132117          Kioskcom          K0132251
Kioskcom     K0132176          Kioskcom          K0132259
Kioskcom     K0132195          Kioskcom          K0132397
Kioskcom     K0132203          Kioskcom          K0132389
Kioskcom     K0132199          Kioskcom          K0132391
Kioskcom     K0132198          Kioskcom          K0132261
Kioskcom     K0132218          Kioskcom          K0132376
Kioskcom     K0132217          Kioskcom          K0132398
Kioskcom     K0132231          Kioskcom          L0132701
Kioskcom     K0132234          Kioskcom          L0132705
Kioskcom     K0132197          Kioskcom          L0132725
Kioskcom     K0132228          Kioskcom          L0132755
Kioskcom     K0132237          Kioskcom          L0132736
Kioskcom     K0132232          Kioskcom          L0132731
Kioskcom     K0132245          Kioskcom          L0132732
Kioskcom     K0132223          Kioskcom          L0132728
Kioskcom     K0132247          Kioskcom          L0132729
Kioskcom     K0132220          Kioskcom          L0132730
Kioskcom     K0132194          Kioskcom         L0132739
Kioskcom     K0132396          Kioskcom         L0132753
Kioskcom     K0132379      Kioskcom             L0132751
Kioskcom     K0132388      Kioskcom             L0132744
Kioskcom     K0132378      Kioskcom             L0132756
Kioskcom     K0132384      Kioskcom             L0132758
Kioskcom     K0132381      Kioskcom             L0132759
Kioskcom     K0132387      Kioskcom             L0132760
Kioskcom     K0132399      Kioskcom             L0132740
Kioskcom     K0132382      Kioskcom             L0133741
Kioskcom     K0132271      Kioskcom             K0132212
Kioskcom     K0132394      Kioskcom             K0131965
Kioskcom     K0132262      Kioskcom             L0133680
Kioskcom     K0132278      Kioskcom             L0133690
Kioskcom     K0132266      Kioskcom             L0133700
Kioskcom    K0132390       Kioskcom             L0133686
Kioskcom    K0132395       Kioskcom             L0133695
Kioskcom    K0132383       Kioskcom             L0133701
Kioskcom    K0132386       Kioskcom             L0133696
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Mfg/Model       Serial Number
Kioskcom      L0133688
Kioskcom      L0133702
Kioskcom      L0133672
Kioskcom      L0133673
Kioskcom      K0131909
Kioskcom      K0131913
Kioskcom      K0131930
Kioskcom      K0131968
Kioskcom      K0131996
Kioskcom      K0131974
Kioskcom      K0132016
Kioskcom      K0132145
Kioskcom      K0132140
Kioskcom      K0132127
Kioskcom      K0132139
Kioskcom      K0132147
Kioskcom      K0132119
Kioskcom      K0132116
Kioskcom      K0132106
Kioskcom      K0132007
Kioskcom      K0131999
Kioskcom      K0132095
Kioskcom      K0132099
Kioskcom      K0132098
Kioskcom     K0132101
Kioskcom     K0132130
Kioskcom     M0133371
Kioskcom     K0130953
Kioskcom     K0131903
Kioskcom     K0130016
Kioskcom     K0131923
Kioskcom     L0132713
Kioskcom     M0133116
Kioskcom     K0131959
Kioskcom     L0133761
Kioskcom     L0133752
Kioskcom     L0133703
